Case 1:21-cv-04424-DG-RLM Document11 Filed 12/29/21 Page 1 of 1 PagelD #: 75

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VIA ECF

The Honorable Diane Gujarati
United States District Court
BRastern District of New York
225 Cadman Plaza Fast
Courtroom 4B South

Brooklyn, New York 11201

Re: Aaron Ross v. Universal Health Services, Inc. et al.
Case No.: 1:21-cv-4424

Dear Judge Gujarati:

This office represents the Plaintiff, Aaron Ross (“Ross”)
in the above matter. As an initial matter my apologies for not
timely filing a response to Defendants’ second request for a
pre-motion conference.

In response to the arguments set forth in Defendants’
December 9, 2021, request, this is to respectfully submit that
this matter be transferred to the District Court of Utah for the
convenience of the parties and witnesses and in the interests of
justice pursuant to 28 U.S. Code § 1406(a) - Change of venue.

As noted on page 3 of Defendants’ request, transfer would
further the convenience of the parties and witnesses as nearly
all of them are located in Utah, citing Armstrong v. Costco
Wholesale Corp., 234 F. Supp. 3d 367 (E.D.N.Y. 2017).

It should be further noted that this matter would be timely

as the State of Utah has eliminated a statute of limitations for
the civil prosecution of child sex abuses.

Respectfully submitted

LAW OFFICES OF DANIEL W. ISAACS, PLLC

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